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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


City of Chicago,

                    Plaintiff,

        v.                                           Civil Action No. 1:21-cv-05162

DoorDash, Inc. and Caviar, LLC,                      Hon. Jeremy C. Daniel
                                                     Magistrate Judge Jeffrey T. Gilbert
                    Defendants.



                                   JOINT STATUS REPORT

        Pursuant to this Court’s orders dated December 23, 2022 (ECF No. 90) and December 19,

2022 (ECF No. 87) directing the parties to file a status report seven days after each rolling

production deadline to provide information about the last rolling production, what has been

produced to date in total, and what remains to be produced, the parties hereby file this Joint Status

Report concerning the August 9, 2024 production deadline.

I.      Status of the City’s Document Productions

        A.     Documents Produced by the City To Date

        As of August 9, the City has produced 8,693 documents, totaling 62,023 pages, in rolling

productions. The City’s prior productions are described in more detail in the prior joint status

reports (ECF Nos. 96, 101, 105, 109, 115, 151, 164, 174, 194, 200, 202, 216, 230, 234, 242, 246,

249, 250, 282, 294, 304, 308, 309, 320, 322, 336, 343).




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         The City made a production on July 26, 2024, which contained 99 documents and 868

pages. This production contained documents responsive to the following, among others:

         •      RFP No. 5 (Public records requests and responses thereto, concerning this action)

         •      RFP No. 26 (Communications between the City and DoorDash)

         •      RFP Nos. 24 and 35 (Documents provided by the City and to the City to/from
                individuals identified in the City’s response to Interrogatory No. 1)

         •      RFP No. 110 (Guidance provided by BACP to its staff on consumer protection
                investigations and lawsuits)

         •      RFP No. 114 (Documents related to any purported benefits DoorDash provided to
                Chicago restaurants)

         B.     Remaining Documents to be Produced

         The City continues to review its overall production for completeness. The City produced

an updated privilege log on May 9. The City will supplement the log to reflect privileged

documents identified in any future searches agreed to in the parties’ discovery negotiations or

directed by the Court. The City is reviewing and will produce additional documents from hard

drive files that are responsive to RFP Nos. 107, 109, 114, and 116-120. The City will also review

and produce documents in accordance with the Court’s rulings on July 25, 2024 concerning RFP

Nos. 95, 96, and 41.

II.      Status of DoorDash’s Document Productions

         A.     Documents Produced by DoorDash to Date

         DoorDash made a production on July 24, 2024, which included three spreadsheets created

in response to RFPs 44, 90, and 91. Since August 2022, DoorDash has produced a total of 7,723

documents and 39,340 pages across 28 productions. The documents produced to date include:




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            •   Custodial documents responsive to the City’s document requests relating to

                minimum amount promotional discounts, non-partner restaurants, Dasher pay,

                consumer fees, and menu pricing;

            •   Documents identified in known non-custodial locations;

            •   Documents identified from DoorDash’s review of documents produced in related

                investigations and litigations; and

            •   Spreadsheets that were created in order to respond to the City’s requests for specific

                data.

       Additionally, DoorDash served its privilege log on the City on March 22, 2024.

       B.       Remaining Documents to be Produced

       DoorDash is in the process of collecting, reviewing, and producing additional documents

responsive to the City’s RFPs, Set Five, served on March 15, 2024. DoorDash also continues to

collect, review, and prepare for production additional documents responsive to agreements reached

stemming from the meet-and-confer letters and meetings that occurred ahead of the Court’s

motion-to-compel deadline on May 15, 2024. DoorDash is also in the process of revising and

augmenting its privilege log.




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DATED: August 16, 2024                Respectfully submitted,

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